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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    :
                                            :      Case No.: 21-mj-188
               v.                           :
                                            :
RYAN SAMSEL                                 :
                                            :
                          Defendant.        :

                                 NOTICE OF APPEARANCE

       The United States of America, through undersigned counsel, hereby informs the Court

that Trial Attorney Danielle Rosborough is entering her appearance in the above-captioned

matter as counsel for the United States.

                                                   Respectfully submitted,

DATED: June 20, 2021                               CHANNING D. PHILLIPS
                                                   Acting United States Attorney
                                                   DC Bar No. 415793

                                            By:    /s/ Danielle Rosborough
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                                                   /s/ April Russo
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